Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 1 of 16 Page ID #:104



     1   Matthew Storman Pro Se
     2
         1601 E. Ruddock St.
         Covina, CA 91724
     3   Phone: 626-833-6327
     4
         Email admin@romuniverse.com

     5

     6
                             UNITED STATES DISTRICT COURT
     7
                            CENTRAL DISTRICT OF CALIFORNIA
     8

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         NINTENDO OF AMERICA INC,
    17   a Washington corporation
    18    Plaintiff
    19   vs.                                   Case No.: 2:19-CV-07818 CBM(RA0x)
    20
                                               MEMORANDUM IN SUPPORT OF
         MATTHEW STORMAN,                      PRETRIAL MOTION TO DISMISS
    21   an individual,
    22   Defendant
    23

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                                            -1-
                          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 2 of 16 Page ID #:105



     1                                     I.    SUMMARY
     2   Plaintiff has filed suit against Matthew Storman, Service Provider (SP) of
     3   websites ndsuniverse.com and romuniverse.com for Copyright Infringement,
     4   Trademark Infringement and Unfair Competition. Plaintiff’s claims are solely
     5   based on digital material on these websites. 17 U.S. Code § 512 provides SP with
     6   liability protection and limits relief for the Plaintiff to only injunctive relief. The
     7   plaintiff has previously recognized Defendant's right to infringement liability
     8   protections under DMCA (codified 17 U.S. Code § 512). Furthermore, the copies
     9   and trademarks on the websites were previously sold by the Plaintiff and under the
    10   First Sale Doctrine, the plaintiff has no rights to these copies or
    11   trademarks. Competition cannot be unfair since the copies have already been sold
    12   by the Plaintiff to owners and under the First Sale Doctrine the owners may
    13   dispose of the copies as they see fit. The Defendant is not selling the copies or
    14   trademarks.
    15   The defendant prays the court to Dismiss the suit based on legal, procedural, and
    16   common law considerations or Sua Sponte.
    17

    18       II.   FACTS/DEFENSES IN SUPPORT OF MOTION TO DISMISS.
    19   Plaintiff has been in communication with Service Provider (SP1)
    20   admin@romuniverse.com11 of the websites ndsuniverse.com, and
    21   romuniverse.com for years.
    22

    23                   III. DEFENDANT LIABILITY PROTECTION
    24   The Digital Millennium Copyright Act (DMCA2) codified as 17 U.S. Code § 512
    25   protects SPs from liability when potentially infringing material is on websites.
    26   DMCA is also known as Ocilla, Safe Harbor, etc.
    27   Essential to protection are2:
    28

                                              -2-
                            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 3 of 16 Page ID #:106



     1        a. Providing copyright owners inspection access to websites, and
     2        b. Requires owners to properly request the removal of material if the owner
     3        has a good faith belief it is infringing
     4        c. The request for removal must be proper9.
     5        d. The material is removed.
     6

     7   Plaintiff has recognized Defendants rights under DMCA by sending requests11 to
     8   remove potentially infringing material from Website. These requests were honored
     9   by Defendant
    10

    11                               IV. COPY OWNERSHIP
    12   Copies on a website of potentially infringing materials may be owned by
    13   “persons” who legally acquired a copy, multiple copies, or collections of the
    14   Copyrighted material 5 (known as First Sale Doctrine). The copies do not belong
    15   to the plaintiff.
    16   These (First sale doctrine5) copies may be sold, destroyed, lost, or given away for
    17   free by the owner. The number of copies not owned by the plaintiff is equal at
    18   least to the number of copies sold or given away by the Plaintiff, his distributors,
    19   or suppliers. The first sale or exhaustion doctrines also apply to trade marks8 .
    20   There are other copies that may not be infringing2,3 including fair use, expired,
    21   uses for education, research, storage, lost, damaged, exemptions from anti-
    22   circumvention, and those beyond a statute of limitations, etc.
    23

    24   The Plaintiff has not properly requested any of the copies referred to in the
    25   complaints be properly removed as is required under DMCA9. Especially
    26   regarding specificity, timeliness and penalty of perjury.
    27   Basis of Plaintiff’s complaints is only the digital content of websites.
    28

                                               -3-
                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 4 of 16 Page ID #:107



     1                              V.   PLAINTIFF FAILURES
     2   Plaintiff’s complaint obfuscates and makes no mention of the DMCA,
     3   Plaintiff’s complaints offer no claim or proof of ownership of the copies on the
     4   websites.
     5   Plaintiff offers no complete and full description of Copyright Registrations content
     6   necessary for bringing complaint7
     7   Plaintiff offers no accurate and complete description of copy contents for defense.
     8   Plaintiff may have violated Copyright Law by not fully and completely describing
     9   the contents of Copyright and copies.
    10   Copy right law is inadequate as a means of protecting digital matter, as it does not
    11   depict the contents of the digital material to the human senses.
    12   Plaintiff fails to disclose where the original copyrights are registered. It is unclear
    13   where the copyrights originated or are based in Japan, or Germany or USA.
    14

    15

    16                        VI. BASIS OF MOTION TO DISMISS
    17   F.R.C.P 12
    18   (1) lack of subject-matter jurisdiction; The court does not have jurisdiction over
    19   this matter because of liability immunity and proof ownership of copies has not
    20   been claimed. Plaintiff is a Japanese or German Company.
    21   (2) lack of personal jurisdiction; Defendant is not an individual (Matthew
    22   Storman) but rather an SP (admin@romuniverse.com) who is not part of the
    23   required forum. The court does not have personal jurisdiction because SP is
    24   protected under DMCA, and potential involvement of international actors. The
    25   Plaintiff is a German company. Plaintiff may have violated Defendant’s privacy
    26   rights or by using unlawful means.
    27

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                                              -4-
                            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 5 of 16 Page ID #:108



     1   (3) improper venue; Owners of copies may be international; the Plaintiff is a
     2   German or Japanese company.
     3   (4) insufficient process; Process is insufficient because it not based on DMCA
     4   violations.
     5   (5) insufficient service of process; service is insufficient because it does not timely
     6   serve, essential actors, such as owners of copies, suppliers, distributors, and
     7   copyright owners.
     8   (6) failure to state a claim upon which relief can be granted. Complaints do not
     9   include any required DMCA violation, or ownership of copies. Fails to identify
    10   essential owners of copies.; and
    11   (7) failure to join a party under Rule 19. The plaintiff has failed to join the true
    12   and essential owners of the copies known only to Plaintiff, or unknown
    13

    14               VII.       EXHAUSTION NON-JUDICIAL REMEDIES.9
    15   DMCA provides the Plaintiff with administrative(non-judicial) processes9 to have
    16   SP remove potentially infringing copies and obtain injunctive relief for the
    17   Plaintiff. The Plaintiff is in effect asking the court to do what the Plaintiff can do
    18   non-judicially and thereby causing unnecessary expenditure of time and resource
    19   of the court, the defendant, and the Plaintiff. Troubling is the fact the Plaintiff has
    20   previously and successfully requested9 the SP remove website copies and SP
    21   complied.
    22    The arrangement in these previous communications are an implied contract that
    23   any copies challenged by Plaintiff will not result in further legal action. Quote
    24   from Plaintiff 11
    25    “Therefore I request you to take immediate action to remove or disable access to
    26   unauthorised copies of the Nintendo Game listed at the URLs below and in order
    27   to prevent further legal actions against your company.” This also implies copies
    28

                                               -5-
                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 6 of 16 Page ID #:109



     1   not challenged by the Plaintiff are permitted on the website until challenged by the
     2   Plaintiff.
     3

     4   The Plaintiff receives unpaid advertising on the websites in return.
     5

     6   Due Process – basic fairness. It is unfair for Plaintiff to not adhere to DMCA
     7   protections for defendant.
     8                                 VIII.       ARGUMENT
     9        1.      DMCA is an integral part of Copyright Law and covers digital material
    10   on websites and therefore must be adhered to in any copyright complaint - the
    11   Plaintiff has not. The First Sale Doctrine permits non-copyright or trademark
    12   owner to dispose of their copies as they see fit. The Plaintiff does not own copies
    13   on websites.
    14

    15        2.      Since DMCA protects SP from any liability, and only limits Plaintiff
    16   to only injunctive relief, the Plaintiff complaints are without basis and potentially
    17   an abuse of process.
    18

    19        3.      Plaintiff’s Complaints are a direct violation of DMCA, in that each of
    20   the complaints are based on liability protected material in the ndsuniverse.com and
    21   romuniverse.com websites.
    22

    23        4.      Furthermore, the Plaintiff has not offered any proof, that the copies in
    24   the websites are the property of the Plaintiff. There are no serial numbers, dates,
    25   origin, etc. and who owns the copy. The plaintiff sells, donates, gives away, copies
    26   of the copy righted material to copy owners. A non-Plaintiff copy owner has the
    27   right to sell, destroy, or give away copies. The owner may own several copies, or
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                                               -6-
                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 7 of 16 Page ID #:110



     1   collections. Furthermore, use of a copy is permissible for education, research,
     2   reverse engineering, and other purposes.
     3

     4        5.     Plaintiff has not properly requested, as required under DMCA, that
     5   copies in complaint be removed from websites. The Plaintiff has not met the
     6   requirements of DMCA; therefore, complaints are baseless or premature at best.
     7

     8        6.     Cease and Desist. The plaintiff did not send Cease and Desist notices
     9   to Defendant; therefore, the defendant did not know of infringement prior to
    10   complaints.
    11

    12        7.     Since, the Plaintiff is not the owner of the copies, the plaintiff is a third
    13   party to the action and has no standing to bring the action10.
    14

    15        8.     Since, Plaintiff previous contacts were from Germany, and the copies
    16   do not belong to Plaintiff, there are issues of ownership, insufficient process,
    17   insufficient service, subject matter jurisdiction, personal jurisdiction, not joining
    18   essential copy owners, and plaintiff’s unfounded complaints makes it impossible
    19   for defendant to defend.
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                                              -7-
                            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 8 of 16 Page ID #:111



     1                                   CONCLUSION
     2

     3   For the reasons stated above, the Defendants Motion should be granted
     4

     5   DATED: 10/21/2019
     6

     7                                             ____________________________
     8                                             Matthew Storman
                                                   1601 E. Ruddock St
     9                                             Covina, CA 91724
                                                   In Pro Se
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                                            -8-
                          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 9 of 16 Page ID #:112



     1                                      REFERENCES
     2        1.     The term “Service Provider” (SP) includes Online Service Provider
     3   (OSP) and Internet Service Provider (ISP).
     4        2.     The Digital Millennium Copyright Act (DMCA) Title II, the Online
     5   Copyright Infringement Liability Limitation Act ("OCILLA"), creates a safe
     6   harbor for online service providers (OSPs, including ISPs) against copyright
     7   infringement liability, provided they meet specific requirements.[4] OSPs must
     8   adhere to and qualify for certain prescribed safe harbor guidelines and promptly
     9   block access to alleged infringing material (or remove such material from their
    10   systems) when they receive notification of an infringement claim from a copyright
    11   holder or the copyright holder's agent. OCILLA also includes a counternotification
    12   provision that offers OSPs a safe harbor from liability to their users when users
    13   claim that the material in question is not, in fact, infringing. OCILLA also
    14   facilitates issuing of subpoenas against OSPs to provide their users' identity.
    15   Codified in 17 U.S. Code § 512. Limitations on liability relating to material online
    16
         (a)Transitory Digital Network Communications.—A service provider shall not
    17
         be liable for monetary relief, or, except as provided in subsection (j), for
    18
         injunctive or other equitable relief, for infringement of copyright by reason of the
    19
         provider’s transmitting, routing, or providing connections for, material through a
    20
         system or network controlled or operated by or for the service provider, or by
    21
         reason of the intermediate and transient storage of that material in the course of
    22
         such transmitting, routing, or providing connections, if—
    23
         (1) the transmission of the material was initiated by or at the direction of a person
    24
         other than the service provider;
    25
         (2) the transmission, routing, provision of connections, or storage is carried out
    26
         through an automatic technical process without selection of the material by the
    27
         service provider;
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                                               -9-
                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 10 of 16 Page ID
                                  #:113


   1   (3) the service provider does not select the recipients of the material except as an
   2   automatic response to the request of another person;
   3   (4) no copy of the material made by the service provider in the course of such
   4   intermediate or transient storage is maintained on the system or network in a
   5   manner ordinarily accessible to anyone other than anticipated recipients, and no
   6   such copy is maintained on the system or network in a manner ordinarily
   7   accessible to such anticipated recipients for a longer period than is reasonably
   8   necessary for the transmission, routing, or provision of connections; and
   9   (5) the material is transmitted through the system or network without modification
  10   of its content.
  11        3.     17 U.S. Code §101 - §122, Limitations on exclusive rights
  12   including § 1201 Permissible uses
  13

  14        4.     Cullins, Ashley Music Industry A-Listers Call on Congress to Reform
  15   Copyright Act Hollywood Reporter. April 5, 2016
  16

  17
            5.     17 U.S. Code § 109. Limitations on exclusive rights: Effect of transfer
  18
       of particular copy or phonorecord
  19
        (a) Notwithstanding the provisions of section 106(3), the owner of a particular
  20
       copy or phonorecord lawfully made under this title, or any person authorized by
  21
       such owner, is entitled, without the authority of the copyright owner, to sell or
  22
       otherwise dispose of the possession of that copy or phonorecord.
  23

  24
            6.     US S.C Reed Elsevier v. Muchnick, Slip. Op., 559 U.S. ___ (March 2,
  25
       2010)
  26

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                                            - 10 -
                          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 11 of 16 Page ID
                                  #:114


   1        7.     Section 411(a) of the Copyright Act (at 17 U.S.C. 411(a)) provides,
   2   among other things, that “no civil action for infringement of the copyright in any
   3   United States work shall be instituted until . . . registration of the copyright claim
   4   has been made in accordance with this title.” 6
   5
            8.     Polymer Technology Corporation, Plaintiff-appellant, v. Emile
   6
       Mimran, -975 F.2d 58 (2d Cir. 1992)
   7
       As a general rule, trademark law8 does not reach the sale of genuine goods
   8
       bearing a true mark even though the sale is not authorized by the mark owner.
   9
       NEC Electronics v. Cal Circuit Abco, 810 F.2d 1506, 1509 (9th Cir.), cert. denied,
  10
       484 U.S. 851, 108 S. Ct. 152, 98 L. Ed. 2d 108 (1987). Thus, a distributor who
  11
       resells trademarked goods without change is not liable for trademark infringement.
  12
       See 2 J. Thomas McCarthy, Trademarks and Unfair Competition, § 25:11 (2d ed.
  13
       1984) (citing Prestonettes, Inc. v. Coty, 264 U.S. 359, 44 S. Ct. 350, 68 L. Ed. 731
  14
       (1924) and Champion Spark Plug Co. v. Sanders, 331 U.S. 125, 67 S. Ct. 1136, 91
  15
       L. Ed. 1386 (1947)). In addition, even repackaging of goods is not trademark
  16
       infringement if it does not deceive the public or damage the mark owner's
  17
       goodwill. See Prestonettes, 264 U.S. at 368, 44 S. Ct. at 351 (sale of repackaged
  18
       cosmetics permitted provided statement disclosing origin is enclosed); Champion,
  19
       331 U.S. at 130, 67 S. Ct. at 1139 (sale of reconditioned spark plugs under original
  20
       name permitted provided full disclosure made).
  21

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                                            - 11 -
                          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 12 of 16 Page ID
                                  #:115


   1         9.    17 U.S. Code § 512.(c)(3)Elements of notification.—
   2   (A) To be effective under this subsection, a notification of claimed infringement
   3   must be a written communication provided to the designated agent of a service
   4   provider that includes substantially the following:
   5   (i) A physical or electronic signature of a person authorized to act on behalf of the
   6   owner of an exclusive right that is allegedly infringed.
   7   (ii) Identification of the copyrighted work claimed to have been infringed, or, if
   8   multiple copyrighted works at a single online site are covered by a single
   9   notification, a representative list of such works at that site.
  10   (iii) Identification of the material that is claimed to be infringing or to be the
  11   subject of infringing activity and that is to be removed or access to which is to be
  12   disabled, and information reasonably sufficient to permit the service provider to
  13   locate the material.
  14   (iv) Information reasonably sufficient to permit the service provider to contact the
  15   complaining party, such as an address, telephone number, and, if available, an
  16   electronic mail address at which the complaining party may be contacted.
  17   (v) A statement that the complaining party has a good faith belief that use of the
  18   material in the manner complained of is not authorized by the copyright owner, its
  19   agent, or the law.
  20   (vi) A statement that the information in the notification is accurate, and under
  21   penalty of perjury, that the complaining party is authorized to act on behalf of the
  22   owner of an exclusive right that is allegedly infringed.
  23   (B)
  24   (i) Subject to clause (ii), a notification from a copyright owner or from a person
  25   authorized to act on behalf of the copyright owner that fails to comply
  26   substantially with the provisions of subparagraph (A) shall not be considered
  27   under paragraph (1)(A) in determining whether a service provider has actual
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                                              - 12 -
                            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 13 of 16 Page ID
                                  #:116


   1   knowledge or is aware of facts or circumstances from which infringing activity is
   2   apparent.
   3   (ii) In a case in which the notification that is provided to the service provider’s
   4   designated agent fails to comply substantially with all the provisions of
   5   subparagraph (A) but substantially complies with clauses (ii), (iii), and (iv) of
   6   subparagraph (A), clause (i) of this subparagraph applies only if the service
   7   provider promptly attempts to contact the person making the notification or takes
   8   other reasonable steps to assist in the receipt of notification that substantially
   9   complies with all the provisions of subparagraph (A).
  10

  11        10.    Warth v. Seldin, 422 U.S. 490 (1975), was a United States Supreme
  12   Court case in which the Court reviewed the concept of judicial standing and
  13   affirmed that if the plaintiffs lacked standing, they could not maintain a case
  14   against the defendants. The Court found that as none of the plaintiffs could
  15   demonstrate any injury actually done to them by the defendants, the plaintiffs
  16   were third parties to the issue and had no standing to sue
  17

  18        11.    Example email from German Plaintiff - take down notice.
  19   Take-down notice due to copyright infringement: Super Mario Odyssey (Switch)
  20   Friday, November 09, 2018 06:35 PST
  21   DMCA-notice@bertelsmann.de
  22   To admin@romuniverse.com abuse@enom.com support@gumroad.com
  23   Dear Sir or Madam,
  24   we have detected unauthorised copies of the video game "Super Mario Odyssey
  25   (Switch)" (the "Nintendo Game") hosted on your servers. The urls
  26   concerned are listed below.
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                                            - 13 -
                          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 14 of 16 Page ID
                                  #:117


   1   The copyright and other intellectual property rights in the Nintendo Game are
   2   owned and/or controlled by Nintendo Co., Ltd. ("Nintendo") for the
   3   world and any unauthorised use, including but not limited to any unauthorised
   4   copying or communication to the public of the Nintendo Game is
   5   therefore an infringement of copyright and/or other intellectual property rights.
   6   I declare under penalty of perjury that this notice is true and correct, that I am
   7   authorized to act on behalf of the intellectual property rights owner
   8   Nintendo and that I have good faith and reasonable belief that neither Nintendo
   9   nor any licensee of Nintendo has authorised you or any other third
  10   party to copy or communicate the Nintendo Game to the public in the manner
  11   described in this notice. I therefore have good faith belief that use of
  12   the material in the manner complained of is not authorized by the copyright
  13   owner, its agent, or the law.
  14   Therefore I request you to take immediate action to remove or disable access to
  15   unauthorised copies of the Nintendo Game listed at the URLs below
  16   and in order to prevent further legal actions against your company.
  17   linked from romuniverse.com:
  18   linked from https://www.romuniverse.com/download/84925/super-mario-odyssey-
  19   all-en-fr-de-es-it-nl-ru-ja-bigbluebox
  20   1.
  21   https://regular.romuniverse.com/roms/nintendoswitch/Super%20Mario%20Odysse
  22   y%20(All)%20(En,%20Fr,%20De,%20Es,%20It,%20Nl,%20Ru,%20J
  23   linked from https://www.romuniverse.com/download/85235/super-mario-odyssey-
  24   v001-jpn-en-ja-fr-ge-es-it-nl-ru-jrp
  25   1.
  26   https://regular.romuniverse.com/roms/nintendoswitch/Super%20Mario%20Odysse
  27   y%20v001%20(JPN)%20(En,%20Ja,%20Fr,%20Ge,%20Es,%20It,%2
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                                            - 14 -
                          MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 15 of 16 Page ID
                                  #:118


   1   linked from https://www.romuniverse.com/download/85291/0277-super-mario-
   2   odyssey-world-en-ja-fr-de-es-it-nl-ru-rev-1-trimmed
   3   1. https://regular.romuniverse.com/roms/nintendoswitchtrimmed/0277%20-
   4   %20Super%20Mario%20Odyssey%20(World)%20(En,Ja,Fr,De,Es,It,Nl,Ru)%20(
   5   Rev%201)%20[Trimmed].xci
   6   linked from https://www.romuniverse.com/download/85530/0038-super-mario-
   7   odyssey-world-en-ja-fr-de-es-it-nl-ru-trimmed
   8   1. https://regular.romuniverse.com/roms/nintendoswitchtrimmed/0038%20-
   9   %20Super%20Mario%20Odyssey%20(World)%20(En,Ja,Fr,De,Es,It,Nl,Ru)%20[
  10   Trimmed].xci
  11   Best regards,
  12   Thorsten Johanntoberens
  13   Director IT & Development | mbargo servies
  14   --------------------------------------
  15   Sonopress GmbH
  16   Carl-Bertelsmann-Str. 161 F
  17   33332 Gütersloh
  18   Germany
  19   Phone: +49 (0) 5241 80-42457
  20   E-Mail: thorsten.johanntoberens@bertelsmann.de
  21   www.sonopress.de
  22   ---------------------------------------------------------------------------------------------------
  23   ---------------------------------------------------
  24   Sitz Gütersloh | Amtsgericht Gütersloh HRB 2034 | Geschäftsführer Sven
  25   Deutschmann, Jörg Dickenhorst
  26   ---------------------------------------------------------------------------------------------------
  27   ---------------------------------------------------
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                                               - 15 -
                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-07818-CBM-RAO Document 25-1 Filed 10/24/19 Page 16 of 16 Page ID
                                  #:119


   1   Diese E-Mail und eventuelle Anlagen können vertrauliche und/oder rechtlich
   2   geschützte Informationen enthalten. Wenn Sie nicht der richtige
   3   Adressat sind oder diese E-Mail irrtümlich erhalten haben, informieren Sie bitte
   4   sofort den Absender und vernichten Sie diese E-Mail. Das
   5   unerlaubte Kopieren sowie die unbefugte Weitergabe dieser E-Mail sind nicht
   6   gestattet.
   7   ---------------------------------------------------------------------------------------------------
   8   ---------------------------------------------------
   9   Registered Office Gütersloh | District Court Gütersloh Commercial Registry 2034
  10   | Managing Director Sven Deutschmann, Jörg Dickenhorst
  11   ---------------------------------------------------------------------------------------------------
  12   ---------------------------------------------------
  13   This e-mail and any attachments may contain confidential and/or privileged
  14   information. If you are not the intended recipient (or have received this
  15   e-mail in error) please notify the sender immediately and destroy this e-mail. Any
  16   unauthorized copying, disclosure or distribution of the material in
  17   this e-mail is forbidden.
  18   ---------------------------------------------------------------------------------------------------
  19   ---------------------------------------------------
  20   Bitte denken Sie über Ihre Verantwortung gegenüber der Umwelt nach, bevor Sie
  21   diese E-Mail ausdrucken.
  22   Please consider the environment before printing this mail.
  23   thorsten.johanntoberens@bertelsmann.de
  24   phone: +49 (0) 52 41 - 80-42457
  25

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                                               - 16 -
                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
